    Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 1 of 11 PageID 4




1

2          iI
                     •
3
4
5      DAVID TOM,
6                        Plaintiff
                V.
7
 8     MODERN CONCEPTS CONSTRUCTION
       LLC, a Domestic Limited Liability
 9     Company
10
11                       Defendant

12

13                          COMPLAINT AND REQUEST FOR JURY TRIAL
14
                Plaintiff, DAVID TOM ("Tom"), brings this action under federal law the Federal
                                                                                      -



15
      Telephone Consumer Protection Act, 47 U.S.C. § 227(c)(5) ("TCPA") and state law the    -


16

17    Florida Telephone Solicitation Act ("FTSA") Fla. Stat. § 501.059 as amended by Senate Bill

18    No. 1120 (effective July 1, 2021) against Defendant, MODERN CONCEPTS

19    CONSTRUCTION LLC, a Domestic Limited Liability Company ("Defendant") and alleges
20
      based on personal knowledge and information and belief, as fo1low:
21
22
                                           • k     tS) Illisi (Ski
23

24
      1.        As the Supreme Court has explained, Americans passionately disagree about many
25
                things. The American people are largely united in their disdain for telemarketing
26
27
                                                                (
                                                                     Case # 05-2022-SC-038228-XXXX-XX
28                                                                   Document Pa e # 1

                                                     -
                                                         -

                                                                     *35274531*
    Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 2 of 11 PageID 5




1           calls. The Federal Trade Commission and Federal Communications Commission both

2           receive a staggering number of complaints about telemarketers each year. The States
3
            likewise field a constant barrage of complaints. For nearly 30 years, representatives in
4
            Congress 1ave been fighting back. As relevant here, the Telephone Consumer
5
            Protection Act of 1991, known as the "TCPA", generally prohibits telemarketing to
6
7           cell phones and home phones. Barr v. Am. Ass'n of Political Consultants, 140 S. Ct.

 8          2335, 2343 (2020).
 9
      2.    Plaintiff brings this action against Defendant for violations of the TCPA, 47 U.S.C.    §
10
            227(c)(5), and its implementing regulations, 47 C.F.R § 64.1200 as well as violations
11
            of Florida Statutes § 501.059, the Florida Telephone Solicitation Act ("FTSA") as
12
13          amended by Senate Bill No. 1120 (effective July 1, 2021).

14    3.    This case involves a telemarketing campaign by Defendant despite not having the
15
            required consent to contact Plaintiff, despite not having an existing business
16
            relationship with Plaintiff, and by Defendant not immediately identifying a true first
17
            and last name and spoofing a phone number in violation of FTSA.
18

19
20                                  JIJRISDICTION & VENUE
21    4.    This court has subject matter over this action for both Federal and State Claims.
22
            Federal claims are pursuant to 47 U.S.C. § 227(b)(3) which reads:
23
                    (3) FRIVA TE RIGHT OFACTION. —A person or entity may,           f otherwise
24
25                 permitted by the laws or rules of court of a State, bring in an appropriate

26                  court of that State— (A) an action based on a violation of this subsection or
27
28

                                                  -2-
 Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 3 of 11 PageID 6




1                   the regulations prescribed under this subsection to enjoin such violation, (B)

2                   an action to recover for actual monetary lossfrom such a violation, or to
3
                    receive $500 in damagesfor each such violation, whichever is greater, or (C)
4
                    both such actions. If the court finds that the defendant willfully or knowingly
 5
                    violated this subsection or the regulations prescribed under this subsection,
 6 ,
 7                  the court may, in its discretion, increase the amount of the award to an

 8                  amount equal to not more than 3 times the amount available under
 9
                   subparagraph (B) of this paragraph.
10
       5.   This court has jurisdiction over Plaintiff's state law claims under the FTSA. Such
11
            claims arise out of the same set of factual allegations as Plaintiff's TCPA claims in
12
13          this action.

14     6.   This court has jurisdiction Defendant because this suit arises out of and relates to both
15
            Defendant having made or caused to be made telephonic sales calls without the
16
            requisite prior express written consent in violation of the TCPA and FTSA and
17
            specifically targeted a Brevard County, Florida Telephone number which was
18
19          answered by Plaintiff while physically within Brevard County, Florida.

20
21                              PARTIES & STATUTORY BACKGROUND
22
       7.   At all times material hereto, Plaintiff is a resident of the State of Florida, is and was a
23
            citizen of Brevard County, Florida.
24

25
26
27
28

                                                    -3-
 Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 4 of 11 PageID 7




1    8.    Defendant MODERN CONCEPTS CONSTRUCTION LLC is a domestic limited

2          liability company who maintains a place of business at 3300 S. ORANGE
3
           BLOSSOM TRAIL ORLANDO, FL 32839.
4
     9.    Tom maintains a telephone number registered on the Federal do not call list database
5
           since June 28, 2003. A true and correct copy of a verified registration with the federal
6
7          registry is attached hereto and incorporated herein by reference as Plaintiff's Exhibit

 8

 9
     10.   The State of Florida does not maintain a publicly accessible system for verification of
10
           date of registration of phone numbers on the Florida Do Not Call List that emails a
11
           verification of registration. Instead, a true and correct copy of a verified registration
12
13         query from the Florida Department of Agriculture and Consumer Services registry

14         effective January 2014 is attached hereto and incorporated herein by reference as
15
           Plaintiff's Exhibit "B".
16
     11.   Tom is and at all times relevant hereto, was an individual and a ttcalled party't as
17
           defined by Fla. Stat. § 501.059(l)(a) in that he was the regular user of the telephone
18

19         number that received Defendant's telephonic sales calls.

20
21                                      FACTUAL ALLEGATIONS
22
     12.   Tom has received a telephonic call from Defendant advertising their business, in
23
           violation of TCPA and FTSA on 22 April 2022. A true and correct copy of the AT&T
24
25         call log from Plaintiff's telephone account is attached hereto and incorporated herein

26         by reference as Plaintiff's Exhibit "C".

27
28

                                                   -4-
 Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 5 of 11 PageID 8




1    13.    Plaintiff retains an electronic recording of the call and seeks admission to this court of

2           this electronic evidence.
3
     14.    Defendant fails to comply with Fla. Stat. § 501.059, requiring the identification of a
4
            true first and last name immediately upon making contact by telephone.
5
     15.    Defendant fails to comply with Fla. Stat. § 501.059, by utilizing a spoofed phone
6
7           number.

8    16.    Defendant is, and at all times relevant hereto was, a domestic limited liability
 9
            company and a "telephone solicitor" as defmed by Fla. Stat. § 501.059(f). Defendant
10
            is a Florida licensed general contractor, license number CGC1517598 and maintains
11
            its primary place of business and headquarters at 3300 S. ORANGE BLOSSOM
12

13
14   17.    Plaintiff mailed an investigation letter to Defendant that requested Defendant produce
15
            their Do Not Call Policy on April 26th, 2022, and to see if an amicable resolution
16
            outside of trial would be possible.
17
     118.   Defendant declined to produce a copy of their Do Not Call Policy and has not
18
19          contacted Plaintiff to try and resolve these issues.

20   119.   Due to the failure or Defendant to deliver their do not call policy and attempt
21          resolution of this dispute Tom is left with no choice but to resolve these issues
                                        -




22
            through litigation and articulates and measures damages as follows:
23
            TCPA Damages from Defendant for one call made on 22 April 2022.
24
25          FTSA Damages from Defendant for one call made on 22 April 2022.

26

27
28

                                                   -5-
 Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 6 of 11 PageID 9




I                                               ill J%'A[SI       [SI

2    20.   Plaintiff re-alleges and re-adopts paragraphs 1 through 19 of this Complaint as if fully
3
           set forth herein.
4
     21.   The foregoing actions of Defendant constitute illegal action against Plaintiff in
5
           violation of TCPA. Tom as of July 28, 2003, is protected under the laws of the TCPA.
6
7 122.     Plaintiff was injured due to Defendant's violation of TCPA.

8    23.   Plaintiff is entitled to legal and injunctive relief as a result of Defendants actions.
9
           WHEREFORE, Plaintiff requests:
10
           (A) An injunction restraining continued violation of TCPA;
11
           (B) Compensatoiy damages allowable at law from Defendant, in the amount of $500
12

13         on one single call; Compensatory damages allowable at law from Defendant, in the

14         amount of $500 pursuant to 47 CFR 64.1200(d)(1) for failing to produce a do not call
15         policy upon demand;
16
           (C) A finding that Defendant's failure to follow federal law pertaining to Do Not Call
17
           registrations and failing to produce a do not call policy upon demand is both a
18
19         knowing and willful violation of TCPA warranting treble damages, in the amount of

20         $1500 per instance against Defendant;
21         (D) Prejudgment interest on all monetary recovery obtained;
22
           (B) All filing costs and attorney's fees incurred in prosecuting these claims; and
23
           (F) For such further relief as the Court deems just and equitable.
24
25
26                                         dl             ATeTPUtO

27
28

                                                   -6-
 Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 7 of 11 PageID 10




 I   24.   Plaintiff re-alleges and re-adopts paragraphs 1 through 19 of this Complaint as if fully

2          set forth herein.
3
     25.   The foregoing actions of Defendant constitute illegal action against Plaintiff in
4
           violation of FTSA. Tom as of July 1, 2021, is protected under the laws of the FTSA.
5
     26.   Plaintiff was injured due to Defendant's violation of FTSA.
6
7    27.   Plaintiff is entitled to legal and injunctive relief as a result of Defendants actions.

 8         WHEREFORE, Plaintiff requests:
 9
           (A) An injunction restraining continued violation of FTSA;
10
           (B) Compensatory damages allowable at law from Defendant, in the amount of $500
11
           per call; Compensatory damages allowable at law from Defendant, in the amount of
12

13         $500 for failing to immediately disclose a true first and last name; Compensatory

14         damages allowable at law from Defendant, in the amount of $500 for utilizing a
15
           spoofed phone number;
16
           (C) A finding that Defendants have made telemarketing calls that are a knowing and
17
           willful violation of FTSA, warranting treble damages against Defendant on the single
18

19         call and immediate the failure to disclose a true first and last name upon connection

20         and for utilizing a spoofed phone number;
21         (D) Prejudgment interest on all monetary recovery obtained;
22
           (B) All filing costs and attorney's fees incurred in prosecuting these claims; and
23
           (F) For such further relief as the Court deems just and equitable.
24
25
26
27
28

                                                   -7-
Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 8 of 11 PageID 11




1    36.    Plaintiff hereby articulates and measures monetary damages from Defendant as

2            follows:
3
             TCPA Claims, $3,000
4
             FTSA Claims, $4,500
5

6

7                                   REOUIEST FOR A JURY TRIAL

8    Plaintiff hereby requests a jury trial on all issues so triable.
 9
10
     Dated: July 25, 2022                                     Respectfully Submitted,
11
12

13
14                                                                      Tom
15
16
17
18

19
20
21

22
23
24
25
26

27
28

                                                      -8-
             Case
7124/22, 10 25 PM     6:22-cv-01644-PGB-DAB
                                          Gmas Document      1-1
                                                Nationa' Do Not
                                                     -
                                                                     Filed 09/09/22
                                                                CaH Rogistry                Page
                                                                             Your Registration       9 of 11 PageID 12
                                                                                               is ConFirmed




            Gmad                                                                      David Tom <david.m.tom@gmaiicom>



  Nationa Do Not CaD Registry Your Registration Is Confirmed
 1 message

 Verify©donotcaligov <Verify donotca1Lgov>                                                       Sun, Jul 24, 2022 at 10 15 PM
 To david m.tomgmail.com

    Thank you for registering your phone number with the National Do Not Call Registry You successfully registered your
    phone number ending in 9212 on June 28, 2003. Most telemarketers will be required to stop calling you 31 days from
    your registration date.

    Visit https I/www donotcaligov to register another number or file a complaint against someone violating the Registry.



    Please do not reply to this message as it is from an unattended mailbox Any replies to this email will not be responded to
    or forwarded. This service is used for outgoing emails only and cannot respond to inquiries.




https I/mail google                                                                                                              1/1
7124/22, 10 Case
            08 PM    6:22-cv-01644-PGB-DAB Document 1-1SUBSCRIBE
                                                          Filed 09/09/22
                                                                 NOWII   Page 10 of 11 PageID 13



                                                                                      Resources
  FieWs with (*) asterisks are REQUIRED fieWs.                                        • fl port A Cat or Text
                                                                                      • Recent News & Updates
                                                                                        Downtoad the Comptaint Form


                                                               Verify Subscription
   Phone:                               xxx-xxx-xxxx
               [VERIFY]              321-725-9212 is registered.




                   ® Single Phone Number 0       MultIple Phone Numbers




        "*
   Email:      I
                   U / would like to subscribe to the Florida Consumer E-News/etter
                                   [5UBScfflBJ


                                                                   Unsubscribe
    Phone:*
                               I                        xxx-xxx--xxxx

    E mail:*                                                                                I
                               [Ü LJBSCRWE]




 https //csapp fdacs gov/cspublicapp/Complaints/SubscnbeNow aspx                                                      1/1
       Case 6:22-cv-01644-PGB-DAB Document 1-1 Filed 09/09/22 Page 11 of 11 PageID 14
5/16122, 1246AM                                                                   AT&T

      Oate I Time                   Contact                         Location                             Minutes     Charges ($)

      04/26/2022    12 I4PM         904 315 2922                    Slauguslin                               1            000


      04/26/2022    11 O8AM         407 384 2420                    Orlando                                  1            0 00


      04/26/2022    11 O2AM         302 655 1140                    Wilmagton                                5            000


      04/28/2022    11 QOAM         302 297 9694                    Millsboro                                1            000


      04/26/2022    10 37AM         904 316 2922                     Staugustin                              3            000


      04/25/2022    03 29PM         18663456744                                                              4            000


      04/25/2022    02 SIPM         904 315 2922                     Staugustin                             Il            000


      04/24/2022    0645PM          18009552282                                                             22            000


      04/24/2022    08 35AM         321 779 7960                    Eaugalhe                                 2            000


      04/24/2022    07 OBAM         321 779 7960                     Eaugalbe                                2            000


      04/22/2022    06 3IPM         321 779 7960                     Eaugallie                               5            000


      04/22/2022    06 23PM         321 953 2860                     Melbourne                               8            000


      04/22/2022    06 1BPM          850 676 2612                    Chipley                                 3            000
                                                                                                                                   J
      04/22/2022    05 S4PM          321 953 2880                    Melbourne                               8            000


      04/22/2022    05 23PM          254 263 9709                    Reagan                                  1            000


      04/22/2022    01 5OPM          9043152922                      Staugustin                              1            000


      04/22/2022    1242PM           9043152922                      Staugustin                              7            000


      04/22/2022    1203PM           18776492262                                                             6            000


      04/2212022    11 42AM          850 668 6700                    Tallahasse                              1            000


      04/21/2022    08 4BPM          714 573 4087                    Sanlaana                                1            000


      04/21/2022    02 59PM          16333832657VERlFYTAX                                                    1            000


      04/21/2022    02 14PM          321 779 7960                    Eaugallie                               8            000


      04/21/2022    01 16PM          9043152922                      Staugustin                             15            000


      04/20/2022    03 2SPM          321 631 0696                    Cocoa                                   1            000


      04/20/2022    0317PM           18886821043                                                             3            000


      04/2012022    02 32PM          9043152922                      Staugustin                                  5         000


      04120/2022    1251PM           904371 3966                     Jacksonvl                              37             000


      04/20/2022    1247PM           904371 3986                     Jackaonv                                1             000


      04/20/2022    1245PM           18449664704                                                             1            000


      04/20/2022    1245PM           904 371 3986                    Jacksonvl                               1




https llwe, aft com/olamlbiflVolpDetadSectionPnntPrevtew myworld7aCcountNumber=125957161
                                                                                        &telePhoneNumber=32172592L
